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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

 ROW VAUGHN WELLS, INDIVIDUALLY AND AS
 ADMINISTRATRIX OF THE ESTATE OF TYRE
 DEANDRE NICHOLS, DECEASED

         Plaintiff

 VS.                                                        CAUSE NO.: 2:23-CV-02224-MSN-atc


 THE CITY OF MEMPHIS, a Municipality;
 CHIEF CERELYN DAVIS, in her official capacity;
 EMMITT MARTIN, III, in his individual capacity;
 DEMETRIUS HALEY, in his individual capacity;
 JUSTIN SMITH, in his individual capacity;
 DESMOND MILLS, JR., in his individual capacity;
 TADARRIUS BEAN, in his individual capacity;
 PRESTON HEMPHILL, in his individual capacity;
 ROBERT LONG, in his individual capacity;
 JAMICHAEL SANDRIDGE, in his individual capacity;
 MICHELLE WHITAKER, in her individual capacity;
 DEWAYNE SMITH, in his individual capacity and as an
 agent of the City of Memphis

         Defendants


                       DEFENDANT, JUSTIN SMITH’S, STAUS REPORT


         COMES NOW, Defendant, Justin Smith, by and through counsel of record, and files this

 status report with the Court and would state as follows:

         1.      On September 21, 2023, this Court granted a stay as to the Defendant, Justin

 Smith, and ordered counsel for Defendant to submit a status report on or before November 1,

 2023.

         2.      The undersigned counsel represents the Defendant, Justin Smith, in the on-going

 state and federal criminal proceedings.
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        3.      There has been no change in the status of this matter since the Court’s issuance of

 the Order regarding the stays.

        Respectfully submitted this the 1st day of November, 2023.

                                              Respectfully Submitted,

                                              SPARKMAN-ZUMMACH, P.C.


                                              S/Martin Zummach
                                              Martin Zummach, #16352
                                              Attorney for Defendant, Justin Smith
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                                              Southaven, MS 38671
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                                              martin@sparkman-zummach.com


                                       Certificate of Service

          The undersigned certifies that on the 1st day of November, 2023, a copy of the
 foregoing document was electronically filed with court clerk using the ECF System, and
 that upon filing, a copy will be sent via the Court’s ECF System to all registered parties
 in this case.

                                              S/Martin Zummach
